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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                LUBBOCK DIVISION

STATE OF TEXAS, et al.,

                       Plaintiffs,
v.
                                                       Civil Action No. 5:22-cv-00185-H
XAVIER BECERRA, in his official capacity as
Secretary of Health and Human Services, et al.,

                       Defendants.


                                      NOTICE OF APPEAL

         Notice is hereby given that all Defendants in the above-named case hereby appeal to the

United States Court of Appeals for the Fifth Circuit from the Amended Judgment dated January 13,

2023 (ECF No. 109), and all prior rulings in this action.

 Dated: March 10, 2023                               Respectfully submitted,

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